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June 2, 2023

Honorable Denise Cote Lhd ¥ ‘ 4 “Le could!

United States District Judge
Daniel Patrick Moynihan “tthe poe A puecl = pbatabe

United States Courthouse J
500 Pearl Street (sx phe bed .
New York, New York 10007 ' / ¥

Re: United States v. James Velissaris,
22 Cr. 105 (DLC) b Jf z

Dear Judge Cote:

The parties write to update the Court on their discussions regarding the appropriate
restitution amount in the above-captioned case, and to propose a briefing schedule to resolve any
disputes. (See Sentencing Transcript at 44). As the Court is aware, the restitution amount should
be determined by July 6, 2023, ninety days after the defendant’s April 7 sentencing. See 18
U.S.C. § 3664(d)(5); see also Dolan v. United States, 560 U.S. 605, 611 (2010).

To date, two victims have alleged losses for purposes of restitution:

Diversified Alpha Fund

The Diversified Alpha Fund (“DAF”) alleges losses of $59,152,245.00. The supporting
documentation is attached as Exhibits A through G. The details are summarized below.

$46,482,819.00 overpayments to former shareholders who fully redeemed their
shares in the DAF at inflated net asset values

$7,485,202.00 excess management fees paid by DAF to Infinity Q Capital
Management (“IQCM”)

$850,000.00 payments to Russell Investments for liquidation of DAF’s
assets

$1,573,882.00 payments to Alvarez and Marsal Valuation Services for
reevaluation of DAF’s historical NAVs

$2,288,416.00 payments to Cornerstone Research for distribution of DAF’s
assets to shareholders

$450,000.00 fees to Bloomberg for the BVAL license used during the
reevaluation

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$21,926.00 attorneys’ fees for restitution application!

Volatility Alpha Fund

The Volatility Alpha Fund (“VAF”) alleges losses of $67,129,126.02. The supporting
documentation is attached as Exhibit H.? The details are summarized below.

$26,573,945.89 overpayments to [QCM for management fees and performance

allocations

$18,880,319.12 overpayments to Limited Partners who withdrew funds based
on inflated NAVs

$20,235,496.29 legal fees for Velissaris’s criminal defense up until plea and
sentencing

$516,115.00 legal fees for Scott Lindell

$79,182.67 legal fees for other IQCM employees who were interviewed by
the Government

$844,067.05 payments to Markit to revalue VAF’s historical investment
portfolio

Defense counsel was provided with the supporting documentation for the Government’s
restitution request this week. However, this week Mr. Velissaris has been in transit between BOP
facilities and counsel was unable to schedule a cali with him. To avoid undue delay, in the
meantime the parties propose the following timeline:

June 6 defense counsel informs the Court and the Government of any
objections to the above amounts

June 13 Government brief, if any objections are alleged

June 20 defense opposition, if any objections are alleged

Respectfully submitted,

DAMIAN WILLIAMS
United States Attorney

by: /sf
Margaret Graham
Assistant United States Attorney
(212) 637-2923

'DAF’s April 6, 2023 letter stated that the attorneys’ fees were $18,874. However, as
communicated by DAF’s counsel and reflected in the attached invoice, the correct amount is

$21,926.
* The Government respectfully requests that Exhibit H be filed under seal, as it contains

sensitive financial information of VAF and its investors.

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